%A0 2450        (Rev.Case     9:04-cr-00021-DWM
                      12/03)ludgmenl                            Document
                                     in a Criminal Case for Revocations     321 Filed 11/01/07 Page 1 of 4
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                   Missoula Division                             District of                        ~ATRIcK~OB~WM&LE~~
         UNITED STATES OF AMERICA
                                v.
                     Tracy Brockway                                       Case Number:                        CR 04-21-M-DWM-03
                                                                          USM Number:                         55466-019
                                                                          John Rhodes
                                                                          Defendant's Attorney
THE DEFENDANT:
x    admitted guilt to violation of condition(s) 3, 8, and 9                               of the term of supervision.
     was found in violation of condition(s)                                           after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                     Nature of Violation                                                          Violation Ended
I                                    Spc. cond. #8: complete 100 hours of community service work                  October 2007

                                     Std. conds. #3 and #9: answer all probation-officerinquiries truthfully; September 2007
                                     not associate with any person convicted of a felony unless granted
                                     permission by probation office


       The defendant is sentenced as provided in pages 2 through           4          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                   and is discharged as to such violation(s) condition

         It is ordered that the defendant must notif the United States attorney
change of name, residence, or mailing address untiall fines, restitution, costs,
fully paid. If ordered to pay restitution, the defendant must notify the court and
economic circumstances.

Defendant's Soc. Sec. No.:     xxx-xx-6785                                November 1,2007/

Defendant's Date of Birth:     1970


Defendant's Residence Address:

1816 South 5th St. West #3
Missoula, M'T 59801
                                                                                /
                                                                          ~ o n h BLMd&.
                                                                                  d
                                                                                            \
                                                                                         Chief Judpe
                                                                          Name and Tntle of Judge


                                                                         November 1.2007
                                                                         Date
Defendant's Mailing Address:

1816 South 5th St. West #3
Missoula, MT 59801
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A 0 245D       (Rev. 12/03 Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonmen1
                                                                                                       Judgment - Page   2of    4
DEFENDANT:                      Tracy Brockway
CASE NUMBER:                    CR 04-21-M-DWM-03


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :
1 month




           The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal

    x The defendant shall surrender to the United States Marshal for this district:
                 at                                       a.m.           p.m    on
           x     as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notifiedby the Probation or Pretrial Services Office.

                                                                         RETURN
I have executed this judgment as follows:

                -




           Defendant delivered on                                                          to

a                                                       with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                               BY
                                                                                                  DEPUTY UNWED STATES MARSHAL
                    Case 9:04-cr-00021-DWM Document 321 Filed 11/01/07 Page 3 of 4
             (Rev. 12/01) Judgmem in a Criminsl Csse far Revocations
A 0 245D
             Sheet 3 - Supci-vtred Rclerse
                                                                                                  Judgment-Page   3of                4
DEFENDANT:                 Tracy Brockway
CASE NUMBER:               C R 04-2 I-M-DWM-03
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
35 months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of,a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug
tests thereafter as detemned by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
x      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
x      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
13     The defendant shall registcr with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation ofiicer. (Check, if applicable.)
13     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of thls judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer and shall submit a truthful and complete writtenreportwithin the &st five days
        of each month;
 3)     the defendant shall answer tmthFuUy all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excusedhy the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a w s t e r any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a phys~clan;
 8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
        of a felony, unless granted permission to do so by the probation ofiicer;
10)     the deti.ndant sl~aIIprnn113 prohar~onofficer to \.is11hlm or hr.r at any ttme at home or clsc\\~hcreand shall perm11conficatlon
        of any contrabdnd obsr.rvrd in plam VICW of thc probation otticer;
I I)    the defendant shall notify the probation officer within seventy-hvo hours ofheing arrested or questioned by a law enforcement
        officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal histo17 or characteristics and shall permit the probation officer to make such notificatrons and to
        confirm the defendant's compliance with such notification requirement.
A 0 245D
                    Case 9:04-cr-00021-DWM Document 321 Filed 11/01/07 Page 4 of 4
             (Rev. 12/03) ludgrncnt in a Criminal Cane for Revocations
             Sheet 3A - Supervised Release
                                                                                    Judgment-Page   4 of          4
DEFENDANT:                  Tracy Brockway
CASE NUMBER:                CR 04-2 1-M-DWM-03

                                    ADDITIONAL SUPERVISED RELEASE TERMS
1.         The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis
           tests and not more than 104 Breathalyzer tests annually during the period of supervision. The
           defendant is to pay all or part of the costs of testing as determined by the United States Probation
           Officer.
2.         The defendant shall participate in and complete a program of substance abuse treatment as approved
           by the United States Probation Office, until the defendant is released from the program by the
           probation officer. The defendant is to pay part or all of the cost of this treatment, as determined by the
           United States Probation Officer.
3.         The defendant shall participate in a program for mental health treatment as deemed necessary by the
           United States Probation Officer, unhl such time as the defendant is released from the program by the
           probation officer. The defendant is to pay part or all of the cost of this treatment, as determined by the
           United States Probation Officer.
4.         The defendant shall submit her person, residence, place of employment, or vehicle, to a search,
           conducted by a United States Probation Officer, based on reasonable suspicion of contraband or
           evidence in violation of a condition of release. Failure to submit to search may be grounds for
           revocation. The defendant shall warn any other residents that the premises may be subject to searches
           pursuant to the condition.
5.         The defendant shall abstain from the consumption of alcohol and shall not enter establishments where
           alcohol is the primary item of sale. This condition supersedes standard condition number 7 with
           respect to alcohol consumption only.
6.         The defendant shall participate in the home confinement program under the home incarceration
           component for a period of 4 months, which will include electronic monitoring. The defendant shall
           pay all or part of the costs of the program as determined by the United States Probation Officer. The
           defendant is restricted to her residence at all times except for medical needs or treatment, religious
           services, court appearances pre-approved by the probation officer, or work obligations pre-approved
           by the probation officer. During the term of home incarceration, the defendant shall abstain from the
           use of alcohol and shall submit to alcohol testing by the probation officer.
7.         The defendant shall not possess any police radio scanning devices or possess any computer hardware
           or software that would enable the defendant to monitor law enforcement activity.
8.         The defendant will provide the United States Probation Officer with any requested financial
           information and shall incur no new lines of credit without the prior approval of the United States
           Probation Officer.
